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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


                                    Delaware
 ____________________ District of _________________
                                        (State)
                                                            11
 Case number (If known): _________________________ Chapter _____                                                                    Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                             Number Holdings, Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               8 0           0 7 6 1 4 6 3
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                          of business
                                                  1730 Flight Way, Suite 100
                                              ______________________________________________              _______________________________________________
                                              Number     Street                                           Number     Street

                                              ______________________________________________              _______________________________________________
                                                                                                          P.O. Box

                                                  Tustin, CA 92782
                                              ______________________________________________              _______________________________________________
                                              City                        State    ZIP Code               City                      State      ZIP Code


                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                                  Orange County
                                              ______________________________________________
                                              County                                                      _______________________________________________
                                                                                                          Number     Street

                                                                                                          _______________________________________________

                                                                                                          _______________________________________________
                                                                                                          City                      State      ZIP Code




 5.   Debtor’s website (URL)                       99only.com
                                              ____________________________________________________________________________________________________




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Debtor         Number Holdings, Inc.
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              4 5 2 3
                                             ___ ___ ___ ___

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




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Debtor          Number Holdings, Inc.
               _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases             No
      pending or being filed by a
      business partner or an                              See Rider 1
                                          Yes. Debtor _____________________________________________                 Affiliate
                                                                                                       Relationship _________________________
      affiliate of the debtor?                            Delaware
                                                District _____________________________________________ When          Date   Hereof
                                                                                                                    __________________
      List all cases. If more than 1,                                                                                        MM /    DD    / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have          No
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                   Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




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Debtor
              Number Holdings, Inc.
            _______________________________________________________                             Case number (if known)_____________________________________
            Name




 13. Debtor’s estimation of              Check one:
     available funds                      Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                               1,000-5,000                                25,001-50,000
 14. Estimated number of
                                          50-99                              5,001-10,000                               50,001-100,000
    creditors
 (on a consolidated basis)                100-199                            10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
 (on a consolidated basis, based          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
 on unaudited financial statements
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion
 as of 2/29/2024)

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
 (on a consolidated basis, based          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
 on unaudited financial statements        $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion
 as of 2/29/2024)


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                             04/07/2024
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ Christopher J. Wells
                                             _____________________________________________
                                                                                                           Christopher J. Wells
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                    Chief Restructuring Officer
                                             Title _________________________________________




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Debtor
              Number Holdings, Inc.                                                  Case number (iflcnownl,
                                                                                                        _________                         _
                                                                                                                                          _
             Name




 1s. Signature of attorney       X /s/ Robert J. Dehney, Sr.                                   Date          04/07/2024
                                      Signature of attorney for debtor                                       MM      /DD /YYYY


                                       Robert J. Dehney, Sr.
                                      Printed name
                                      Morris, Nichols, Arsht & Tunnell LLP
                                      Firm name
                                      1201 N. Market Street, 16th Floor, P.O. Box 1347
                                      Number         Street
                                      Wilmington                                                     DE               19899-1347
                                      City                                                           State           ZIP Code

                                      (302) 658-9200                                                 rdehney@morrisnichols.com
                                      Contact phone                                                  Email address



                                       3578                                                          DE
                                      Bar number                                                     State




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                                              Rider 1

                   Pending or Current Bankruptcy Cases Filed by Affiliates

        On the date hereof, each of the affiliated entities listed below (collectively, the “Debtors”)
filed a voluntary petition for relief under title 11 of the United States Code in the United States
Bankruptcy Court for the District of Delaware.

                                               Debtor

                        1.    Number Holdings, Inc.

                        2.    99 Cents HoldCo LLC

                        3.    99 Cents Only Stores LLC

                        4.    99 Cents Only Stores Texas, Inc.

                        5.    99 Cents PropCo LLC

                        6.    Bargain Wholesale LLC
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                              ACTION BY WRITTEN CONSENT
                              OF THE BOARD OF DIRECTORS
                               OF NUMBER HOLDINGS, INC.

                                           April 7, 2024

        The undersigned, being all of the members of the Board of Directors (the “Board”) of
Number Holdings, Inc., a Delaware corporation (the “Company”), acting pursuant to Section
141(f) of the General Corporation Law of the State of Delaware and the Amended and Restated
By-Laws of the Company, approve and adopt the following resolutions with the same force and
effect as if they were adopted at a duly constituted meeting of the Board:

     WHEREAS, the Board has considered the financial and operational condition of the
Company;

       WHEREAS, the Board has reviewed the historical performance and results of the
Company, the market in which the Company operates, its current and future liquidity needs, its
business prospects, and its current and long-term liabilities;

        WHEREAS, the Board has reviewed the materials presented by its financial, legal, and
other advisors and has engaged in numerous and extensive discussions (including, without
limitation, with management and legal and financial advisors of the Company) regarding, and has
had the opportunity to fully consider, the Company’s financial condition, including its liabilities
and liquidity position, the strategic alternatives available to it, and the impact of the foregoing on
the Company’s business and operations; and

       WHEREAS, the Board has determined that it is desirable and in the best interests of the
Company and its respective creditors, equity holders, employees, and other parties-in-interest that
the Company file or cause to be filed a voluntary petition (a “Voluntary Petition”) for relief under
the provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”).

                                         Chapter 11 Case

        NOW, THEREFORE, BE IT RESOLVED, that it is advisable and in the best interests
of the Company that the Company file, or cause to be filed, a Voluntary Petition commencing the
Chapter 11 Case; and

        BE IT FURTHER RESOLVED, that any authorized officer of the Company, including
the Chief Restructuring Officer, and any person authorized by such officers (the “Authorized
Officers”), be, and each of them is, authorized, empowered, and directed to execute and file, or
cause to be filed, with the bankruptcy court, for the Company, all petitions, schedules, lists,
motions, applications, pleadings, and any other necessary papers or documents (collectively,
“Chapter 11 Case Documents”), including any amendments to such Chapter 11 Case Documents,
and to take any and all action and perform any and all further deeds that they deem necessary or
proper to obtain chapter 11 bankruptcy relief or in connection with the chapter 11 case of the
Company (the “Chapter 11 Case”), with a view to the successful prosecution of such Chapter 11
Case.
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                                 Debtor in Possession Financing

        WHEREAS, the Board has been presented with a commitment letter proposed to be
entered into by and between 99 Cents Only Stores LLC, a California limited liability company
(“99 Cents”), as the borrower, and the commitment party to such “Commitment Letter”, in
substantially the form attached to this written consent as Exhibit A (the “DIP Commitment
Letter”), pursuant to which the commitment party would provide a $60.8 million super-priority
senior secured debtor in possession term loan credit facility (the “DIP Credit Facility”);

        WHEREAS, the Board has had the opportunity to consult with its respective legal and
financial advisors to fully consider and discuss the key terms of the foregoing; and

        WHEREAS, the Board, including on behalf of the Company in its capacity as the sole
member of 99 Cents, has determined that the transactions contemplated by the DIP Commitment
Letter are desirable and in the best interests of the Company and its subsidiaries and that, in
connection with the Chapter 11 Case, 99 Cents’ entry into the DIP Commitment Letter and the
effectuation of the transactions contemplated by the DIP Commitment Letter are necessary and
appropriate to the continuation and preservation of the value of the business of the Company and
its subsidiaries.

        NOW, THEREFORE, BE IT RESOLVED, that the DIP Commitment Letter, the DIP
Credit Facility and the terms and provisions of each of the DIP Commitment Letter and any and
all of the other agreements to which the Company and/or any of its subsidiaries is a party,
including, without limitation, certificates, documents, agreements, deeds, and instruments
authorized, executed, delivered, reaffirmed, verified or filed in connection with the DIP Credit
Facility, and the Company’s and/or any of its subsidiaries’ performance of its respective
obligations under the DIP Commitment Letter and the DIP Credit Facility, including any
guarantees and the granting of security interests contemplated under the DIP Commitment Letter
and the DIP Credit Facility and the borrowings under the DIP Credit Facility, are authorized and
approved;

         BE IT FURTHER RESOLVED, that the Authorized Officers, and any employees or
agents (including counsel) designated by or directed by any such officers, be, and each of them is,
authorized, empowered, and directed, in the name and on behalf of the Company, to, if the
Authorized Officers determine it to be necessary or appropriate, enter into, or cause the taking of
any action by 99 Cents to enter into, the DIP Commitment Letter and the DIP Credit Facility, and
any related documents or instruments, each on terms and conditions agreed to by the Company,
the lender and the agent and such other terms as are customary for similar debtor-in-possession
facilities and to cause the Company to grant a senior security interest in substantially all of its
assets in connection with such DIP Credit Facility, and to undertake any and all related transactions
contemplated by the DIP Commitment Letter and the DIP Credit Facility;

       BE IT FURTHER RESOLVED, that the Authorized Officers be, and each of them is,
authorized, empowered, and directed, in the name and on behalf of the Company, to, if the
Authorized Officers determine it to be necessary or appropriate, cause to be prepared, to negotiate,
execute, and deliver, and the Company is authorized to perform its obligations and take the actions
contemplated under, the DIP Credit Facility and such other documents, agreements, guaranties,

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instruments, financing statements, notices, undertakings, certificates, and other writings as may be
required by, contemplated by, or in furtherance of the DIP Credit Facility (collectively,
“Supplemental DIP Credit Documents”), each containing such provisions, terms, conditions,
covenants, warranties, and representations as may be deemed necessary or appropriate by the
Authorized Officers, and any amendments, restatements, amendments and restatements,
supplements, or other modifications to such Supplemental DIP Credit Documents, in each case
with such changes in such Supplemental DIP Credit Documents and additions to such
Supplemental DIP Credit Documents (substantial or otherwise) as shall be deemed necessary,
appropriate, or advisable by any Authorized Officer executing the same in the name and on behalf
of the Company, such approval to be evidenced conclusively by such execution;

        BE IT FURTHER RESOLVED, that the Company, as debtor and debtor in possession
under the Bankruptcy Code, be authorized, empowered, and directed to negotiate and obtain the
use of cash collateral or other similar arrangements, including, without limitation, to enter into any
guarantees and to pledge and grant liens on and claims against the Company’s assets as may be
contemplated by or required under the terms of cash collateral agreements or other similar
arrangements, in such amounts as is reasonably necessary for the continuing conduct of the affairs
of the Company in the Chapter 11 Case and any of the Company’s affiliates who may also,
concurrently with the Company’s petition, file for relief under the Bankruptcy Code;

         BE IT FURTHER RESOLVED, that the Company will receive substantial direct and
indirect benefits from the loans and other financial accommodations to be made under the DIP
Credit Facility to the Company and its affiliates;

                                      Retention of Advisors

        BE IT FURTHER RESOLVED, that the Authorized Officers be, and each of them is,
authorized, empowered, and directed to employ the law firm of Milbank LLP as general
bankruptcy counsel to represent and advise the Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance its rights and obligations, including
filing any pleadings in connection with the Chapter 11 Case and with any post-petition financing;
and in connection with such employment, the Authorized Officers are authorized, empowered, and
directed to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon filing of the Chapter 11 Case, and cause to be executed and filed an appropriate
application with the bankruptcy court for authority to retain the services of Milbank LLP;

        BE IT FURTHER RESOLVED, that the Authorized Officers be, and each of them is,
authorized, empowered, and directed to employ the firm of Morris, Nichols, Arsht & Tunnell LLP
as Delaware bankruptcy counsel to represent and advise the Company in carrying out its duties
under the Bankruptcy Code, and to take any and all actions to advance its rights and obligations in
connection with the Chapter 11 Case and with any post-petition financing; and in connection such
employment, the Authorized Officers are authorized, empowered, and directed to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
filing of the Chapter 11 Case, and cause to be executed and filed an appropriate application with
the bankruptcy court for authority to retain the services of Morris, Nichols, Arsht & Tunnell LLP;



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        BE IT FURTHER RESOLVED, that the Authorized Officers be, and each of them is,
authorized, empowered, and directed to employ the firm of Jefferies LLC as investment banker to
represent and assist the Company in carrying out its duties under the Bankruptcy Code, and to take
any and all actions to advance its rights and obligations in connection with the Chapter 11 Case
and with any post-petition financing; and in connection with such employment, the Authorized
Officers are authorized, empowered, and directed to execute appropriate retention agreements, pay
appropriate retainers prior to and immediately upon the filing of the Chapter 11 Case, and cause
to be executed and filed an appropriate application with the bankruptcy court for authority to retain
the services of Jefferies LLC;

        BE IT FURTHER RESOLVED, that the Authorized Officers be, and each of them is,
authorized, empowered, and directed to employ the firm of Alvarez & Marsal North America, LLC
as financial advisor to represent and assist the Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance its rights and obligations in connection
with the Chapter 11 Case and with any post-petition financing; and in connection with such
employment, the Authorized Officers are authorized, empowered, and directed to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
filing of the Chapter 11 Case, and cause to be executed and filed an appropriate application with
the bankruptcy court for authority to retain the services of Alvarez & Marsal North America, LLC;

        BE IT FURTHER RESOLVED, that the Authorized Officers be, and each of them is,
authorized, empowered, and directed to employ the firms of Hilco Merchant Resources, LLC and
Hilco Real Estate, LLC (collectively, “Hilco”) as retail consultant and real estate consultant and
advisor to represent and assist the Company in carrying out its duties under the Bankruptcy Code,
and to take any and all actions to advance its rights and obligations in connection with the Chapter
11 Case and with any post-petition financing; and in connection with such employment, the
Authorized Officers are authorized, empowered, and directed to execute appropriate retention
agreements, pay appropriate retainers prior to and immediately upon the filing of the Chapter 11
Case, and cause to be executed and filed an appropriate application with the bankruptcy court for
authority to retain the services of Hilco;

        BE IT FURTHER RESOLVED, that the Authorized Officers be, and each of them is,
authorized, empowered, and directed to employ the firm of Kroll Restructuring Administration
LLC as claims and noticing agent to assist the Company in carrying out its duties under the
Bankruptcy Code; and in connection with such employment, the Authorized Officers are
authorized, empowered, and directed to execute appropriate retention agreements, pay appropriate
retainers prior to and immediately upon the filing of the Chapter 11 Case, and cause to be executed
and filed an appropriate application with the bankruptcy court for authority to retain the services
of Kroll Restructuring Administration LLC;

        BE IT FURTHER RESOLVED, that the Authorized Officers be, and each of them is,
authorized, empowered, and directed to employ any other professionals, including attorneys,
accountants, and tax advisors, necessary to assist the Company in carrying out its duties under the
Bankruptcy Code; and in connection with such employment, the Authorized Officers are
authorized, empowered, and directed to execute appropriate retention agreements, pay appropriate
retainers prior to or immediately upon the filing of the Chapter 11 Case, and cause to be executed


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and filed appropriate applications with the bankruptcy court for authority to retain the services of
any other professionals, as necessary;

                             Other Authorization and Ratification

       BE IT FURTHER RESOLVED, that the Authorized Officers be, and each of them is,
authorized, empowered, and directed, in the name and on behalf of the Company, to prosecute the
Chapter 11 Case in a manner that in their business judgment is likely to maximize the recovery for
stakeholders in the Company and minimize the obligations incurred by the Company;

        BE IT FURTHER RESOLVED, that the Authorized Officers be, and each of them is,
authorized, empowered, and directed, in the name and on behalf of the Company, to cause the
Company to enter into, execute, deliver, certify, file, and/or record and perform such agreements,
instruments, motions, affidavits, applications for approvals or ruling of governmental or regulatory
authorities, certificates or other documents, and to take such other action, as in the judgment of
such officer shall be or become necessary, proper, and desirable to prosecute to a successful
completion the Chapter 11 Case, including, but not limited to, implementing the foregoing
resolutions and the transactions contemplated by this written consent and paying all expenses,
including but not limited to filing fees;

       BE IT FURTHER RESOLVED, that Authorized Officers be, and each of them is,
authorized, empowered, and directed, in the name and on behalf of the Company, to amend,
supplement, or otherwise modify from time to time the terms of any documents, certificates,
instruments, agreements, or other writings referred to in the foregoing resolutions; and

       BE IT FURTHER RESOLVED, that all acts, actions, and transactions relating to the
matters contemplated by the foregoing resolutions done in the name and on behalf of the Company,
which acts would have been approved by the foregoing resolutions except that such acts were
taken before this written consent was certified, are in all respects approved and ratified.




                                                 5
DocuSign Envelope ID: 1AD843CE-88B4-4EA9-9967-21DAF2EACADE
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                   IN WITNESS WHEREOF, each of the undersigned has executed this action by written
            consent as of the date written above.


                       ____________________________
                       Felicia Thornton


                       ____________________________
                       Andrew Giancamilli


                       ____________________________
                       Eric Waxman


                       ____________________________
                       Allyson Satin


                       ____________________________
                       Russell Belinsky
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                               UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                            )
    In re:                                                  )   Chapter 11
                                                            )
    NUMBER HOLDINGS, INC. et al., 1                         )   Case No. 24-[______ (_)]
                                                            )
                        Debtors.                            )   (Joint Administration Requested)
                                                            )
                                                            )
                                                            )

                          CONSOLIDATED CORPORATE OWNERSHIP
                     STATEMENT AND LIST OF EQUITY SECURITY HOLDERS

             Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

the above-captioned debtors and debtors in possession (each a “Debtor”) hereby state as follows:

                1.     A list of the equity interest holders of Debtor Number Holdings, Inc., along with

      the nature of their equity interests, is attached hereto as Exhibit A.

                2.     Debtor 99 Cents Only Stores LLC, whose address is 1730 Flight Way, Suite 100,

      Tustin, CA, 92782, is 100% owned by Debtor Number Holdings, Inc., whose address is 1730

      Flight Way, Tustin, CA, 92782.

                3.     The following Debtors, each of whose address is 1730 Flight Way, Suite 100,

      Tustin, CA, 92782, are 100% owned by Debtor 99 Cents Only Stores LLC:

                        a.    99 Cents HoldCo LLC

                        b.    99 Cents Only Stores Texas, Inc.




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      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, as applicable, are: (i) Number Holdings, Inc. (1463); (ii) 99 Cents HoldCo LLC (3987); (iii) 99 Cents
      Only Stores LLC (1605); (iv) 99 Cents Only Stores Texas, Inc. (1229); (v) 99 Cents PropCo LLC (7843); and
      (vi) Bargain Wholesale LLC (8030). The Debtors’ principal offices are located at 1730 Flight Way, Suite 100,
      Tustin, CA 92782.
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              c.   Bargain Wholesale LLC

      4.     Debtor 99 Cents PropCo LLC, whose address is 1730 Flight Way, Suite 100,

Tustin, CA, 92782, is 100% owned by Debtor 99 Cents HoldCo LLC.




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 Fill in this information to identify the case and this filing:


               Number Holdings, Inc.
 Debtor Name __________________________________________________________________

                                                                             Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                                                      Corporate Ownership Statement and List of Equity Holders
          Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.


                     04/07/2024
        Executed on ______________                          /s/ Christopher J. Wells
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                Christopher J. Wells
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
